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                            UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division


  CHET MICHAEL WILSON, on behalf of
  himself and all others similarly situated
                     Plaintiff,                       No. 1:24-cv-1917-CMH-WEF

        v.

  ALTRIA GROUP DISTRIBUTION
  COMPANY,
               Defendant.


                                                 ORDER

         This matter is before the Court on Defendant’s Motion to Compel (Dkt. 27).

         Upon consideration of the Motion and for the reasons stated in open court, it is hereby

         ORDERED that the Motion (Dkt. 27) is GRANTED and it is further

         ORDERED that Plaintiff shall provide complete responses to Defendant’s ROG 13 (all

  litigation history) and 14-17 (class allegations, including supplemental expert disclosure) within

  seven (7) days from the entry of this Order.

         ENTERED this 18th day of April, 2025.




                                                 WILLIAM E. FITZPATRICK
                                                 UNITED STATES MAGISTRATE JUDGE
  Alexandria, Virginia
